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1    LAWRENCE G. BROWN
     Acting United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2918
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8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S-08-0197 GEB
12               Plaintiff,           )
                                      )   STIPULATION AND [PROPOSED]
13                                    )   ORDER CONTINUING STATUS
          v.                          )   CONFERENCE
14                                    )
     MICHAEL CRAIG DENNIS,            )
15                                    )
                 Defendant.           )
16                                    )
17
18        IT IS HEREBY STIPULATED by and between Plaintiff United
19   States of America, by and through Acting United States Attorney
20   Lawrence G. Brown and Assistant U.S. Attorney Todd D. Leras, and
21   Attorney Alexandria Carl, Counsel for Defendant Michael Dennis,
22   that the status conference scheduled for June 5, 2009, be
23   continued to July 10, 2009, at 9:00 a.m.
24        The request to continue the status conference is made on the
25   ground that defense counsel has requested additional discovery in
26   the case.    The government is gathering the requested information.
27   The defense will need additional time to review the materials.
28
     Order Continuing
     Status Conference                    1
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1    In light of these discussions, both parties are requesting
2    additional time for attorney preparation.       The government and
3    defendant agree that an exclusion of time is appropriate under 18
4    U.S.C. § 3161(h)(7)(B)(iv); Local Code T4 (reasonable time to
5    prepare). This exclusion of time includes the period from June 5,
6    2009, up to and including July 10, 2009.
7         Alexandria Carl agrees to this request and has authorized
8    Assistant United States Attorney Todd D. Leras to sign this
9    stipulation on her behalf.
10
11   DATED: June 3, 2009              By: /s/ Todd D. Leras
                                            TODD D. LERAS
12                                          Assistant U.S. Attorney
13
14   DATED: June 3, 2009              By: /s/ Todd D. Leras for
                                            ALEXANDRIA CARL
15                                          Attorney for Defendant
                                            MICHAEL DENNIS
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     Order Continuing
     Status Conference                  2
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2         IT IS HEREBY ORDERED:
3         1.     The status conference set for June 5, 2009, is
4    continued to July 10, 2009, at 9:00 a.m.
5         2.     Based on the stipulations and representations of the
6    parties, the Court finds that the ends of justice outweigh the
7    best interest of the public and defendant in a speedy trial.
8    Accordingly, time under the Speedy Trial Act shall be excluded
9    under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 (reasonable
10   time to prepare) from June 5, 2009, up to and including July 10,
11   2009.
12        IT IS SO ORDERED.
13   Dated:    June 8, 2009
14
15                                    GARLAND E. BURRELL, JR.
16                                    United States District Judge

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     Order Continuing
     Status Conference
